          Case 2:14-cr-00120-SMJ               ECF No. 192                filed 06/22/15              PageID.744 Page 1 of 2
O PS 8
(3/15)


                               UNITED STATES DISTRICT COURT
                                                                        for
                                               Eastern District of Washington


U.S.A. vs.                     Scott, Alycia Jean                                       Docket No.             2:14CR00120-SMJ-3


                                 Petition for Action on Conditions of Pretrial Release

        COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct
of defendant Alycia Jean Scott, who was placed under pretrial release supervision by the Honorable U.S. Magistrate
Judge John T. Rodgers sitting in the Court at Spokane, Washington, on the 30th day of September 2014 under the
following conditions:

Standard Condition #1: Defendant shall not commit any offense in violation of federal, state or local law. Defendant shall
advise the supervising Pretrial Services Officer and defense counsel within one business day of any charge arrest, or contact
with law enforcement. Defendant shall not work for the United States government or any federal or state law enforcement
agency, unless Defendant first notifies the supervising Pretrial Services Officer in the captioned matter.

Standard Condition #9: Defendant shall refrain from the use of unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licesned medical practitioner. Defendant may not use or
possess marijuana, regardless of whether Defendant has been prescribed a medical marijuana card.

Special Condition #15: Refrain from any use of alcohol.

Special Condition #19: Prohibited Substance Testing. If random urinalysis testing is not done through a treatment program,
random urinalysis testing shall be conducted through Pretrial Services, and shall not exceed six (6) times per month.
Defendant shall submit to any method of testing required by the Pretrial Service Office for determining whether the
Defendant is using a prohibted substance. Such methods may be used with random frequency and include urine testing, the
wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited substance screening or testing.
Defendant shall refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy
of prohibited substance testing. Full mutual releases shall be executed to permit communication between the court, Pretrial
Services, and the treatment vendor. Treatment shall not interfere with Defendant’s court appearances.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                      (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: The defendant was cited for third degree driving while license suspended.

Violation #2: The defendant tested positive for the presence of oxycodone.

Violation #3: The defendant tested positive for the presence of oxycodone.

Violation #4: The defendant tested positive for the presence of alcohol.

Violation #5: The defendant failed to report for random drug testing.
         Case 2:14-cr-00120-SMJ         ECF No. 192      filed 06/22/15        PageID.745 Page 2 of 2
  PS-8
  Re: Scott,, Alycia Jean
  June 22, 2015
  Page 2
                          PRAYING THAT THE COURT WILL ORDER A SUMMONS

                                                                      I declare under the penalty of perjury
                                                                      that the foregoing is true and correct.
                                                                      Executed on:       June 22, 2015
                                                            by        s/ Erik Carlson
                                                                      Erik Carlson
                                                                      U.S. Pretrial Services Officer


THE COURT ORDERS

[ ]      No Action
[ ]      The Issuance of a Warrant
[ X]     The Issuance of a Summons
[ ]      The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                        Signature of Judicial Officer
                                                                               June 22, 2015
                                                                        Date
